        Case: 1:16-cv-11518 Document #: 1 Filed: 12/20/16 Page 1 of 7 PageID #:1



                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 VANESSA CLAIRE DAVIS,
                                                           CIVIL COMPLAINT
               Plaintiff,

 v.                                                              CASE NO. 1:16-cv-11518

 SYNCHRONY FINANCIAL,
                                                       DEMAND FOR JURY TRIAL
               Defendant.


                                          COMPLAINT

        NOW comes VANESSA CLAIRE DAVIS (“Plaintiff”), by and through her attorneys,

Sulaiman Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of SYNCHRONY

FINANCIAL (“Defendant”) as follows:

                                     NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Telephone Consumer Protection

Act (“TCPA”) under 47 U.S.C. §227 and the Illinois Consumer Fraud and Deceptive Business

Practices Act (“ICFA”) under 815 ILCS 505/1 for Defendant's unlawful practices.

                                    JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the TCPA. Subject matter jurisdiction

is conferred upon this Court by 47 U.S.C §227, 28 U.S.C. §§1331 and 1337, as the action arises

under the laws of the United States. Supplemental jurisdiction exists for the state law claim

pursuant to 28 U.S.C. §1367.




                                                 1
        Case: 1:16-cv-11518 Document #: 1 Filed: 12/20/16 Page 2 of 7 PageID #:2



   3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts

business in the Northern District of Illinois and a substantial portion the events or omissions

giving rise to the claims occurred within the Northern District of Illinois.

                                              PARTIES

   4. Plaintiff is a 59 year old natural person who currently resides at 3 West 120th Street,

Chicago, Illinois, which falls within the Northern District of Illinois.

   5. Plaintiff is a “person” as defined by 47 U.S.C. §153(39) of the TCPA.

   6. Plaintiff is a “person” and “consumer” as defined by 815 ILCS 505/1(c) and (e) of the

ICFA.

   7. Defendant is a financial services company organized under the laws of the United States

and maintains its headquarters at 777 Long Ridge Road, Stamford, Connecticut. Defendant

regularly conducts business with consumers in Illinois, including Plaintiff.

   8. Defendant is a “person” as defined by 47 U.S.C. §153(39) of the TCPA.

   9. Defendant’s collection calls to Plaintiff are “trade” and “commerce” as defined by 815

ILCS 505/1(f) of the ICFA.

   10. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                             FACTS SUPPORTING CAUSES OF ACTION

   11. Over a year ago, Plaintiff obtained a Walmart credit card issued through Defendant in

order to purchase food and household goods for her family. See attached Exhibit A for a true

and correct copy of an affidavit signed by Plaintiff.

   12. After experiencing financial hardship, Plaintiff defaulted on her payments to



                                                  2
       Case: 1:16-cv-11518 Document #: 1 Filed: 12/20/16 Page 3 of 7 PageID #:3



Defendant. See Exhibit A.

   13. Whenever Plaintiff has been late with her payments, Defendant will regularly

and persistently call her seeking payment. Id.

   14. In approximately May 2016, Plaintiff began receiving phone calls to her cellular phone,

(312) XXX-2047, from Defendant seeking to collect upon the past due balance. Id.

   15. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in 2047. Plaintiff is and has always been financially

responsible for the cellular phone and its services.

   16. Defendant has used a variety of phone numbers to call Plaintiff, including: (937) 534-

2103, (913) 789-2998, (330) 433-5979, and (606) 875-1385. Id.

   17. Upon information and belief, the aforementioned phone numbers are utilized by

Defendant to contact consumers during its debt collection activities.

   18. When answering calls from Defendant, Plaintiff often experiences a noticeable pause,

approximately four seconds in length, before being connected with a live representative. Id.

   19. Upon speaking with one of Defendant’s representatives, Plaintiff notified that person

that she is unable to pay and to stop calling her. Id.

   20. Despite her demands, Defendant has continued to regularly call Plaintiff’s cellular phone

up until at least October 2016. Id.

   21. Defendant has called Plaintiff’s cellular phone multiple times during the same day. Id.

   22. Plaintiff has received not less than 30 calls from Defendant after asking it to stop calling

her. Id.

   23. Frustrated over the persistent calls, Plaintiff spoke with Sulaiman regarding her rights,

resulting in expenses.



                                                  3
       Case: 1:16-cv-11518 Document #: 1 Filed: 12/20/16 Page 4 of 7 PageID #:4



    24. Plaintiff has suffered financial loss as a result of Defendant’s actions.

    25. Plaintiff has suffered charges and expenses that she would not have otherwise incurred

if not for Defendant’s systematic calls, including the loss of cellular phone capacity.

    26. With the goal of ending Defendant’s conduct, Plaintiff has purchased and maintained an

application on her cellular phone to block the calls. Id.

    27. Defendant’s calls have caused Plaintiff a great deal of stress and have affected her sleep

and job performance. Id.

    28. Plaintiff has been unfairly harassed by Defendant's actions.

    29. Plaintiff has suffered concrete harm as a result of Defendant’s actions

.
          COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

    30. Plaintiff repeats and realleges paragraphs 1 through 29 as though fully set forth herein.

    31. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent.

The TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the

capacity...to store or produce telephone numbers to be called, using a random or sequential

number generator; and to dial such numbers.”

    32. Defendant used an ATDS in connection with it communications directed towards

Plaintiff. The approximately four second pause that Plaintiff experienced during answered calls

before being connected to a live representative of Defendant is instructive that an ATDS was

being used. Similarly, the frequency and nature of Defendant’s calls strongly suggests that an

ATDS was being utilized.

    33. Defendant violated the TCPA by placing phone calls to Plaintiff’s cellular phone using




                                                 4
      Case: 1:16-cv-11518 Document #: 1 Filed: 12/20/16 Page 5 of 7 PageID #:5



an ATDS without her consent. Any consent Plaintiff may have given to Defendant was

explicitly revoked.

   34. The calls placed by Defendant to Plaintiff were regarding business transactions and not

for emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

   35. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C).

   WHEREFORE, Plaintiff, VANESSA CLAIRE DAVIS, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
      pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Enjoining Defendant from further contacting Plaintiff; and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.


                       COUNT II – VIOLATIONS OF THE ILLINOIS
                CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT

   36. Plaintiff restates and realleges paragraphs 1 through 35 as though fully set forth herein.

   37. The ICFA states:

               “Unfair methods of competition and unfair or deceptive acts or
               practices, including but not limited to the use or employment of any
               deception, fraud, false pretense, false promise, misrepresentation or
               the concealment, suppression or omission of any material fact, with
               intent that others rely upon the concealment, suppression or
               omission of such material fact . . . in the conduct of any trade or

                                                5
       Case: 1:16-cv-11518 Document #: 1 Filed: 12/20/16 Page 6 of 7 PageID #:6



                commerce are hereby declared unlawful whether any person has in
                fact been misled, deceived or damaged thereby.” 815 ILCS 505/2.

    38. Defendant violated 815 ILCS 505/2 by engaging in an unfair and deceptive act or

practice in contacting Plaintiff. It was unfair for Defendant to relentlessly contact Plaintiff

through means of an ATDS after she notified it of her financial situation and requested that it no

longer call her cellular phone. Defendant ignored Plaintiff’s requests and continued to contact

her at least 30 times after she made her demand. Defendant called Plaintiff’s cellular phone

multiple times per day and some of its calls were in close proximity to one another. Following

its characteristic behavior in placing voluminous phone calls to consumers with past due

accounts, Defendant’s calls here were placed with the hope that Plaintiff would be compelled to

make payment. Defendant ignored Plaintiff’s prompts to cease its calls and continued to seek

payment from her.

    39. Defendant deceptively used a multitude of different phone numbers to contact Plaintiff.

Armed with the desire to disguise its identify after being told to stop calling, Defendant called

Plaintiff from various phone numbers with the hopes that she would answer and make payment.

    40. The ICFA was designed to protect consumers, such as Plaintiff, from the exact behavior

committed by Defendant.

    41. The ICFA further states:

                “Any person who suffers actual damage as a result of a violation of
                this Act committed by any other person may bring an action against
                such person. The court, in its discretion may award actual economic
                damages or any other relief which the court deems proper.” 815
                ILCS 505/10a.

    42. As pled in paragraphs 22 through 29, Plaintiff has suffered actual damages as a result of

Defendant’s unlawful collection practices. As such, Plaintiff is entitled to relief pursuant to 815

ILCS 505/10a. An award of punitive damages is appropriate because Defendant’s conduct was

                                                  6
      Case: 1:16-cv-11518 Document #: 1 Filed: 12/20/16 Page 7 of 7 PageID #:7



outrageous, willful and wanton, and showed a reckless disregard for the rights of Plaintiff.

Defendant regularly engages in the above described behavior against consumers in Illinois and

for public policy reasons should be penalized.

   WHEREFORE, Plaintiff, VANESSA CLAIRE DAVIS, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff actual and punitive damages, in an amount to be determined at trial,
      for the underlying violations;

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Awarding any other relief as this Honorable Court deems just and appropriate.


Dated: December 20, 2016                     Respectfully submitted,

                                             s/ Nathan C. Volheim
                                             Nathan C. Volheim, Esq. #6302103
                                             Admitted in the Northern District of Illinois
                                             Counsel for Plaintiff
                                             Sulaiman Law Group, Ltd.
                                             900 Jorie Boulevard, Suite 150
                                             Oak Brook, Illinois 60523
                                             (630) 575-8181 x113 (phone)
                                             (630) 575-8188 (fax)
                                             nvolheim@sulaimanlaw.com




                                                 7
